 8:08-cr-00061-LSC-TDT         Doc # 54      Filed: 10/08/08    Page 1 of 1 - Page ID # 148




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:08CR61
                                                )
              Plaintiff,                        )
                                                )                MEMORANDUM
              vs.                               )                 AND ORDER
                                                )
JOHN JANTZON,                                   )
                                                )
              Defendant.                        )

       This matter is before the Court on the Defendant’s: appeal (Filing No. 52) from the

Magistrate Judge’s order (Filing No. 51) denying the Defendant’s unopposed motion to

continue trial; and motion for hearing (Filing No. 53).

       Pursuant to 28 U.S.C. § 636(b)(1)(A) and NECrimR 57.2, the court has reviewed the

order from which this appeal has been taken. In an appeal from a magistrate judge's order

on a pretrial matter within 28 U.S.C. § 636(b)(1)(A), a district court may set aside any part

of the magistrate judge's order shown to be clearly erroneous or contrary to law. 28 U.S.C.

§ 636(b)(1)(A); NECrimR 57.2(c).

       The Court has carefully reviewed the record. Judge Gossett’s order is not clearly

erroneous or contrary to law. The request for a hearing is denied.

       IT IS ORDERED:

       1.     The Defendant’s appeal (Filing No. 52) is denied;

       2.     The Defendant’s motion for a hearing (Filing No. 53) is denied; and

       3.     The Magistrate Judge’s Order denying the Defendant’s motion to continue

              trial (Filing No. 51), is affirmed.

       DATED this 8th day of October, 2008.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge
